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                        IN THE UNITED STATES DISTRICT COURT


                       FOR THE SOUTHERN DISTRICT OF GEORGIA


                                      AUGUSTA DIVISION


UNITED STATES OF AMERICA


               VS.                                                  CASE NO: CR114-41


WINSTON JAMES O'CONNELL


                                           ORDER


       The defendant, Winston James O'Connell, was sentenced to 5 years' probation on March

31,2015.

       Surety, Rachel L. Martin, has requested the returnof the $1,500.00 cash securityposted

on the defendant's $15,000.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $1,500.00 posted

by Rachel L. Martin for this defendant, plus all accrued interest thereon, be returned to: Rachel

L. Martin at 1637 Emma Street, Augusta, GA 30909.



       This   ^jr^tay of /j&*<%                   2015 at Augusta, Georgia.


                                                     HONORABLE J. RANDALL HALL
                                                     UNITED STATES DISTRICT JUDGE
                                                     SOUTHERN DISTRICT OF GEORGIA
